Case 19-53270-sms        Doc 30   Filed 05/31/19 Entered 05/31/19 08:58:37              Desc Main
                                  Document     Page 1 of 3




     IT IS ORDERED as set forth below:



     Date: May 30, 2019
                                                     _________________________________

                                                                 Sage M. Sigler
                                                          U.S. Bankruptcy Court Judge

 ________________________________________________________________




                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

IN RE:                                               CASE NO. 19-53270-sms

JASON WARD FREEMAN,                                  CHAPTER: 7
         Debtor.
                                                     JUDGE: HONORABLE SAGE M.
BANK OF AMERICA, N.A.,                               SIGLER
          Movant,

v.

JASON WARD FREEMAN, Debtor,
MARTHA A. MILLER, Trustee,
          Respondents.                               CONTESTED MATTER


               ORDER GRANTING MOTION FOR RELIEF FROM STAY (#25)

         The above styled Motion was called for hearing on May 15, 2019 upon Notice of Hearing

to each of the above-captioned parties in interest. There was no opposition to the Motion and

Movant asserts that the parties were properly served. Accordingly;
Case 19-53270-sms         Doc 30        Filed 05/31/19 Entered 05/31/19 08:58:37   Desc Main
                                        Document     Page 2 of 3


        IT IS HEREBY ORDERED that the 11 USC §362(a) automatic stay is modified for

Movant herein, its successors and assigns, regarding the real property commonly known as 11

Wild Oat Court, Grayson, Georgia 30017-4178.

        FURTHER ORDERED that Movant, its successors and assigns, may assert its rights,

including, but not limited to, the institution and completion of foreclosure proceedings, the

collection of reasonable fees, and may assert all of its respective rights and remedies under

applicable law, as to its collateral.

        FURTHER ORDERED that upon completion of any foreclosure sale, any funds which

may be in excess of the amount due to Movant and to any subordinate lienholder(s) properly

entitled to receive proceeds under applicable State law, shall be paid to the Trustee for the

benefit of the Estate.

        FURTHER ORDERED that the provisions of Bankruptcy Rule 4001(a)(3) are waived.

                                        [END OF DOCUMENT]


PREPARED AND PRESENTED BY:


/s/ Radha Gordon
Radha Gordon, Bar No.: 347192
Attorney for Movant
Aldridge Pite, LLP
Fifteen Piedmont Center
3575 Piedmont Road, N.E., Suite 500
Atlanta, GA 30305
Phone: (404) 994-7400
Fax: (619) 590-1385
Email: RGordon@aldridgepite.com
Case 19-53270-sms     Doc 30    Filed 05/31/19 Entered 05/31/19 08:58:37   Desc Main
                                Document     Page 3 of 3


                                  DISTRIBUTION LIST


Jason Ward Freeman
11 Wild Oat Court
Grayson, GA 30017


Charles N. Kelley, Jr.
Kelley & Clements LLP
P. O. Box 2758
Gainesville, GA 30503-2758


Martha A. Miller
P. O. Box 5630
Atlanta, GA 31107


ALDRIDGE PITE, LLP
Fifteen Piedmont Center
3575 Piedmont Road, N.E., Suite 500
Atlanta, GA 30305
